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AO 245B (Rev 12/10) Judgment in a Criminal Case for Revocations Sheet 1

                                           UNITED STATES DISTRICT COURT
                                                              District of New Mexico

                  UNITED STATES OF AMERICA                                 Judgment in a Criminal Case
                             V.                                            (For Revocation of Probation or Supervised Release)


                           Amanda Jackson                                  (For Offenses Committed On or After November 1, 1987)
                                                                           Case Number: 1:09CR03078-002JB
                                                                           USM Number: 54201-051
                                                                           Defense Attorney: Kari Converse, Appointed
THE DEFENDANT:

     admitted guilt to violations of condition(s) Mandatory, Standard, Special of the term of supervision.
     was found in violation of condition(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation Number                  Nature of Violation                                                  Violation Ended

Mandatory Condition               The defendant failed to refrain from any unlawful use of a           09/16/2014
                                  controlled substance.


The defendant is sentenced as provided in pages 1 through 5 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 The defendant has not violated condition(s) and is discharged as to such violation(s).

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

4550                                                                      January 22, 2015
Last Four Digits of Defendant’s Soc. Sec. No.                             Date of Imposition of Judgment


1978                                                                      /s/ James O. Browning
Defendant’s Year of Birth                                                 Signature of Judge




                                                                          Honorable James O. Browning
Farmington, NM                                                            United States District Judge
City and State of Defendant’s Residence                                   Name and Title of Judge

                                                                          January 30, 2015
                                                                          Date Signed
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AO 245B (Rev 12/10) Sheet 1 – Judgment in a Criminal Case for Revocations Sheet 1A                                      Judgment - Page 2 of 5



Defendant: Amanda Jackson
Case Number: 1:09CR03078-002JB

                                                       ADDITIONAL VIOLATIONS
Violation Number                  Nature of Violation                                           Violation Ended

Standard Condition                The defendant failed to report to the probation officer and   10/2014
                                  failed to submit a truthful and complete written report
                                  within the first five days of each month.

Special Condition                 The defendant failed to participate in and successfully       09/26/2014
                                  complete an outpatient substance abuse treatment
                                  program approved by the probation officer, which may
                                  include testing.
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AO 245B (Rev 12/10) Judgment in a Criminal Case for Revocations                                                       Judgment - Page 3 of 5
Sheet 2 - Imprisonment



Defendant: Amanda Jackson
Case Number: 1:09CR03078-002JB

                                                                  IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 4
months.

For the reasons stated on the record at the revocation hearing held on January 22, 2015, the Court varies.

 The court makes the following recommendations to the Bureau of Prisons:




     The defendant is remanded to the custody of the United States Marshal.
     The defendant shall surrender to the United States Marshal for this district:
       at on
       as notified by the United States Marshal.
     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       before 2 p.m. on
       as notified by the United States Marshal.
       as notified by the Probation or Pretrial Services Office.

                                                                     RETURN

I have executed this judgment as follows:




Defendant delivered on                                                                                         to
                                                    at                               with a Certified copy of this Judgment.




                                                                                  UNITED STATES MARSHALL

                                                                                  By
                                                                                  DEPUTY UNITED STATES MARSHALL
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AO 245B (Rev 12/10) Judgment in a Criminal Case for Revocation
Sheet 3 Supervised Release                                                                                             Judgment - Page 4 of 5



Defendant: Amanda Jackson
Case Number: 1:09CR03078-002JB


                                                          SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 12 months .

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

 The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
      substance abuse. (Check, if applicable.)
 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable).
 The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable).
 The defendant shall register with the State, local, tribal and/or other appropriate sex offender registration agency in the state where
      the defendant resides, works, or is a student, as directed by the probation officer. (Check, if applicable.)
 The defendant shall participate in an approved program for domestic violence prevention. (Check, if applicable)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Criminal Monetary Penalties sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION

1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)  the defendant shall support his or her dependents and meet other family responsibilities;
5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
    acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
    controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
    of a felony unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
    any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
    officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
    permission of the court;
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AO 245B (Rev 12/10) Judgment in a Criminal Case for Revocations
Sheet 3C Supervised Release                                                                                 Judgment - Page 5 of 5


Defendant: Amanda Jackson
Case Number: 1:09CR03078-002JB


                                           SPECIAL CONDITIONS OF SUPERVISION

The defendant must refrain from the use and possession of alcohol and other forms of intoxicants.

The defendant must participate in and successfully complete an outpatient mental health treatment
program approved by the probation officer. The defendant may be required to pay a portion of the cost
of this treatment as determined by the probation officer.

The defendant must have no contact with the co-defendant(s) / co-conspirator(s) in this case

The defendant must participate in and successfully complete an outpatient substance abuse treatment
program approved by the probation officer, which may include testing. The defendant is prohibited from
obstructing or attempting to obstruct or tamper, in any fashion, with the collection, efficiency and
accuracy of any substance abuse testing device or procedure. The defendant may be required to pay a
portion of the cost of treatment and/or drug testing as determined by the Probation Office.

The defendant must submit to a search of the defendant's person, property, or automobile under the
defendant's control to be conducted in a reasonable manner and at a reasonable time, for the purpose of
detecting illegal drugs, drug paraphernalia, or other contraband at the direction of the probation officer.
The defendant must inform any residents that the premises may be subject to a search.


The defendant shall reside at and complete a program at a Residential Reentry Center approved by the
probation officer for a period of 6 months.

The Defendant must enter and successfully complete an inpatient substance abuse treatment program as
approved by the probation officer.
